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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                       In Admiralty

                                     Case No.: 0:23-cv-61946-RS

  TIME OUT, LLC,

             Plaintiff/Counter-Defendant,

  v.

  CLEAR SPRING PROPERTY AND
  CASUALTY COMPANY,

             Defendant/Counter-Plaintiff.                /

       CERTIFICATE OF INTERESTED PARTIES AND CORPORATE DISCLOSURE
                               STATEMENT

         Defendant/Counter-Plaintiff,      CLEAR SPRING         PROPERTY       AND      CASUALTY

 COMPANY (“Clear Spring”), pursuant to Federal Rule of Civil Procedure 7.1, hereby files the

 following Certificate of Interested Parties and Corporate Disclosure Statement, as follows:

         -   No public corporation owns more than 10% of Clear Spring’s stock.

         Furthermore, Defendant/Counter-Plaintiff certifies that the following is a complete list of

 persons, associated persons, firms, partnerships, or corporations that have a financial interest in

 the outcome of this case, including subsidiaries, conglomerates, affiliates, parent corporations, and

 other identifiable legal entities related to a party:

         1. Clear Spring Property and Casualty Insurance Company, Defendant/Counter-Plaintiff

                 a. Clear Spring is wholly owned by Clear Spring PC Holdings, LLC (“CSPCH”).

                     CSPCH is wholly owned by Delaware Life Insurance Company (“DLIC”).

                     DLIC is wholly owned by Group One Thousand One, LLC (“GOTO”). GOTO

                     is majority-owned by Delaware Life Holdings Parent, LLC (“DLHP”). DLHP
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                   is wholly owned by Delaware Life Holdings Parent II, LLC (“DLHPII”).

                   DLHPII is majority-owned by Delaware Life Partners, LLC, which is wholly

                   owned by Mark R. Walter.

        2. Charles S. Davant, Esq., counsel for Defendant/Counter-Plaintiff

        3. Shayna K. Hudson, Esq., counsel for Defendant/Counter-Plaintiff

        4. Davant Law, P.A., counsel for Defendant/Counter-Plaintiff

        5. Time Out, LLC, Plaintiff/Counter-Defendant

        6. Justin S. Fiorilli, Esq., counsel for Plaintiff/Counter-Defendant

        7. Lochner Law Firm, P.C., counsel for Plaintiff/Counter-Defendant

        Defendant/Counter-Plaintiff will promptly amend this Certificate of Interested Parties and

 Corporate Disclosure Statement upon learning of the existence of any other interested parties.

 Dated: March 1, 2024.

                                                 Respectfully submitted,

                                                 DAVANT LAW, P.A.
                                                 Counsel for Defendant/Counter-Plaintiff, Clear
                                                 Spring
                                                 12 Southeast 7th Street, Suite 601
                                                 Fort Lauderdale, FL 33301
                                                 Telephone: (954) 414-0400

                                           By: /s/ Melaina D. Haisfield
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                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on March 1, 2024, I electronically filed the foregoing with the

 Clerk of the Court by using the CM/ECF system, which served a copy thereof on all counsel of

 record.

                                                   /s/ Melaina D. Haisfield
                                                   Melaina D. Haisfield
